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                                               March 15, 2022

      VIA CM/ECF

      The Honorable Judge David O. Carter
      Ronald Reagan Federal Building and United States Courthouse
      411 West Fourth Street
      Courtroom 9D
      Sana Ana, California 92701-4516

                   Re: Eastman v. Thompson, 8:22cv00099

      Dear Judge Carter,

             Congressional Defendants write in response to Dr. Eastman’s March 14, 2022
      letter requesting a reduction in the document production schedule ordered by this
      Court. See ECF No. 212. Congressional Defendants oppose any reduction in the
      pace of Dr. Eastman’s review.

              As previously indicated, the Select Committee has developed substantial
      evidence that Dr. Eastman played a central role in efforts to overturn the 2020
      presidential election, including campaigns directed at state legislators throughout
      the post-election period and at the Vice President in connection with the
      certification of the electoral vote on January 6. The documents at issue are thus
      integral to the Select Committee’s investigation into the “interference with the
      peaceful transfer of power,” including the “influencing factors that fomented” the
      attack on American democracy. See H. Res. 503, 117th Cong. (2021). In addition,
      these documents may provide key context for other information and testimony the
      Committee has received and help direct ongoing investigative efforts.

             The Select Committee’s urgent need for resolution of these privilege issues is
      further heightened by the fact that Dr. Eastman has claimed privilege over a vast
      swath of documents—many of which appear to be critical to the Select Committee’s
      investigation—contrary to governing law. As with the January 4-7 privilege logs,
      Dr. Eastman’s overbroad privilege claims and inadequate privilege log descriptions
      regarding other emails he has reviewed will necessitate in camera inspection of the
      individual documents, unless this Court’s pending determination on Dr. Eastman’s
      January 4-7 privilege assertions effectively resolves his privilege claims for all
      dates. Cf. Mar. 9, 2022, Order, ECF No. 195 (explaining the need for in camera
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   inspection of the January 4-7 documents). Allowing Dr. Eastman to slow the pace of
   review therefore threatens to substantially delay the receipt of potentially critical
   investigative information.

          Finally, Dr. Eastman has offered no change in circumstance or other
   compelling reason to alter the existing production schedule—with which he has
   complied, seemingly without issue, for several weeks now. To the extent Dr.
   Eastman finds it difficult to review the documents personally, he can engage the
   assistance of counsel in those efforts.


                                   /s/ Douglas N. Letter
                                   Douglas N. Letter
                                   General Counsel
                                   Counsel for Congressional Defendants
